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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


VASILIKI MITCHELL, Individually and on
Behalf of All Other Persons Similarly
Situated,                                                         Case No. 1:18-CV-00879-RC

                 Plaintiff,

                 v.

CRAFTWORKS RESTAURANTS &
BREWERIES, INC. 1, d/b/a GORDON
BIERSCH BREWERY RESTAURANT,

                 Defendant.


          DECLARATION OF LORI FULMER IN SUPPORT OF DEFENDANT'S
             REPLY TO PLAINTIFF'S OPPOSITION TO DEFENDANT'S
          MOTION TO COMPEL ARBITRATION AND DISMISS COMPLAINT

        I, Lori Fulmer, declare as follows:
        1.       I am the Director of Human Resources for Defendant CraftWorks Restaurants &

Breweries Group, Inc. ("Craftworks"). I make this declaration in support of Defendant

CraftWorks Motion to Compel Arbitration and Dismiss Complaint.
        2.       I have personal knowledge of the matters contained in this declaration and/or have

knowledge based on my personal review of business records made at or near the time by

someone with knowledge, and if called to do so, can testify competently to the same. All

business records personally reviewed by me are kept in the course of regularly conducted

business activity and were made as part of a regular practice of that activity.

        3.       As the Director of Human Resources, parts of my job duties include onboarding

new hires for Craftworks so I am knowledgeable with regard to the process. As part of the




1
 Plaintiff incorrectly named CraftW orks Restaurants & Breweries, Inc. as a Defendant in this matter. The correct
corporate entity is Defendant CraftWorks Restaurants & Breweries Group, Inc.
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onboarding process at the commencement of employment, Craftworks provides employees with

access to various documents including, but not limited to:

       1.      Form 1-9;

       2.      Form W-4;

       3.      Items to Bring to Orientation;

       4.      How Do You Want To Be Paid;

       5.      Payroll Enrollment Authorization;

       6.     New Hire Attestation of Criminal History;

       7.      Seven Bridges Appearance Uniform Policies;

       8.     The Work Number Verification Information;

       9.     Health Insurance Marketplace;

       10.    Knife Handling Slicer Operation Policy;

       11.    Food Handler Illness Reporting Agreement;

       12.    Food Handler Illness Guidelines;

       13.    Mutual Arbitration Agreement; and

       14.    Foundation Payroll Deduction.

Craftworks also provides newly hired employees the Team Member Handbook and Team

Member Handbook Acknowledgment and a Safety Orientation Checklist.

       4.     Each employee creates their own account which they access using their own

personal unique password. Each employee is provided their onboarding documents through the

account they create which can be accessed only with their unique password. When each

document is signed by the employee, the system creates a time stamp and electronic signature.




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       5.       To create an account, from the Craftworks' careers website, which can be found

at http:/craft.careers.net, an applicant clicks the "Apply" button next to the job posting in which

they are interested. The applicant then clicks "Apply Now". The applicant will then be prompted

to create an account with a unique "useriD" and password. The traditional "useriD" is the

applicant's telephone number. The applicant determines the password at the same time the

account is created. Once an account is created, the applicant can complete a job application.

After the applicant applies for a position, the application will appear under "My Applications" in

the applicant's account. Attached to this declaration as Exhibit "A" are true and correct screen

shots which was created using a "test" applicant/new hire of the application and onboarding

process.

       6.       After the applicant has been hired, they log back into their account to complete

the onboarding electronic paperwork. An applicant is prompted to complete the onboarding

documents upon log in. After clicking "OK," the applicant sees the list of onboarding documents

provided above in Paragraph 3. The applicant must open each document to acknowledge that

they reviewed it. Certain documents, such as the Mutual Arbitration Agreement, must be signed

by the applicant. To sign a document, the applicant clicks on a white "Digitally Sign" button. A

pop-up window appears, requiring the applicant to then enter their unique password for the

account. Only after an applicant enters their unique password can they click the red "Digitally

Sign" button.

        7.      When    electronically stgnmg      a document,      the   applicant   acknowledges

understanding that the electronic signature will be treated the same as a written signature and that

s/he may print and sign the form as an alternative to signing it electronically as follows:

        Under penalty of perjury, I certify that the information which I have provided is
        true and correct. I understand and accept that this electronic consent process shall



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       be treated the same as my written signature on paper. I also understand that I have
       been provided with the opportunity to print these forms as an alternative or in
       addition to this electronic consent process.

Once the document is electronically signed, the date and time stamp of the electronic signature

are recorded on the document.

       8.      PlaintiffVasiliki Mitchell was required to create a unique "useriD" and password

when she applied for a job with Craftworks. Once hired, Plaintiff had to use her unique "useriD"

and password to log into her Craftworks' account to complete the electronic onboarding

paperwork. Each of the onboarding documents, including the Arbitration Agreement, was

provided to Mitchell as their own, standalone documents. Mitchell would have had to click on

the title of the document, "Mutual Arbitration Agreement," to open, view, and sign it. With

regard to the documents which required a signature, including the Mutual Arbitration

Agreement, Plaintiff would have had to click on the white "Digitally Sign" button, enter her

unique password, and then click on the red "Digitally Sign" button to insert her electronic

signature.

       9.      In the course and scope of my employment as the Director of Human Resource

for Craftworks, I have access to employee personnel records, which are kept electronically on a

secure server and require me to provide my unique password to obtain. In this capacity, I was

able to review Mitchell's personnel records kept on Craftworks' secure and private server by

using my personal unique passcode. In particular, when Mitchell completed Craftworks'

onboarding process, she electronically signed several documents on October 20, 2016 as

reflected by the stamped signature, date and time reflected on each document. These documents

include the following:




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           •   Payroll Enrollment Authorization Agreement at 10:00:27 a.m. on October 20,

               2016 (a true and correct copy of which is attached to this declaration as Exhibit

               "B");

           •   Craftworks' Appearance Standards at 10:15:03 a.m. on October 20, 2016 (a true

               and correct copy of which is attached to this declaration as Exhibit "C");

           •   Craftworks' Food Handler Illness Reporting Agreement at 10:27:39 a.m. on

               October 20, 2016 (a true and correct copy of which is attached to this declaration

               as Exhibit "D");

           •   The Mutual Arbitration Agreement at 10:29:29 a.m. on October 20, 2016 (a true

               and correct copy of which is attached to my Declaration in Support of

               Craftworks' Motion to Compel at Exhibit "A");

           •   The Foundation Payroll Deduction Authorization at 10:32:00 a.m. on October 20,

               2016 (a true and correct copy of which is attached to this declaration as Exhibit

               "E"); and

           •   Emergency Contact Information at 12:05:31 p.m. on October 20, 2016 (a true and

               correct copy of which is attached to this declaration as Exhibit "F").

       I declare under penalty of perjury under the laws of the District of Columbia and the

United States of America that the foregoing is true and correct.


       Ex~utOO tlri~ dayof~a~~~~
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                                                 5
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           EXHIBIT A
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From CW careers website, click Apply beside job posting:




Then click Apply Now:




Applicant will be prompted to log in or create an account (cannot continue without logging in to a
unique account):
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The traditional “user ID” is the applicant’s phone number. He/she determines the password at the time
the account is created. If a new account is being created, the application is completed at the same time
as the account is set up by the applicant.
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After the applicant applied for the position, the application will appear under “My Applications” in the
applicant’s account:




After the applicant has been marked Hired, they log back in to their talentReef account to complete the
onboarding electronic paperwork. They are prompted to complete the onboarding documents upon log
in:




After clicking Ok, the applicant sees a list of onboarding documents. He/she must open each document
to acknowledge his/her review of the document.
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Certain forms, such as the Mutual Arbitration Agreement, must be signed by the applicant. To sign a
document, the applicant clicks on white Digitally Sign button. A pop-up window appears, requiring the
applicant to then enter his/her unique password for the account and click the red Digitally Sign button:




When electronically signing the form, the applicant acknowledges understanding that his/her electronic
signature will be treated the same as a written signature and that he/she may print and sign the form as
an alternative to signing it electronically:
        Case 1:18-cv-00879-RC Document 17-1 Filed 07/24/18 Page 11 of 26




Once the document is electronically signed, the date and time stamp of the electronic signature are
recorded on the document:
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            EXHIBIT B
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            Payroll Enrollment Authorization Agreement
CraftWorks is proud to offer two options for receiving your pay: Direct Deposit or a Pay Card. Please check the
box for your selection below, and fill out all required fields in that section.




To authorize direct deposit, please follow these instructions:

   1.   Provide your name and Social Security Number in the spaces below.
   2.   Check the box indicating where you want your pay deposited checking or savings.
   3.   Complete the financial institution information for your account.
   4.   Electronically Sign and date the form.

Full Name: Vasiliki Mitchell                                         SSN: XXX-XX-7304
Contact Number: 2027026747                                           Store Number: 4507 / GB DC - F Street - DC

  Option 1 - I wish to be paid through Direct Deposit

Account 1 Type: Checking Savings                      Amount to deposit: Net Pay or Amount:
Account Number:                                       Routing Number: 073972181
Re-Enter Account Number:                              (re-enter) Routing Number: 073972181
Bank Name: MetaBank
Account 2 Type: Checking Savings                      Amount to deposit: Net Pay
Account Number:                                       Routing Number:
(re-enter) Account Number:                            (re-enter) Routing Number:
Bank Name:

  Option 2 - I wish to be paid through a Pay Card

Proxy Id:
Digitally Signed By: Vasiliki Mitchell
Date: Oct-20-2016 10:00:27 AM EDT                                    10/20/2016
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Employee Signature                                                   Date
Digitally Signed By: GB Navy Yard
Date: Nov-08-2016 11:48:22 AM EST                                    11/08/2016
Manager Signature                                                    Date
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            EXHIBIT C
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                                   CraftWorks Appearance Standards
                                           Issued 5.28.2015

Research states that GUESTS and TEAM MEMBERS care about how we look and what we wear. How we look and
feel helps create the Guest experience, and Team Members presenting a professional appearance are essential to that
experience. Regardless of the concept in which you work, we must strive for consistency so that our Guests may
easily recognize us as Team Members. These standards assist us in maintaining the appearance required by
CraftWorks and, more importantly, expected by our Guests and Team Members. There can be no deviations from
these standards. You must arrive to work in full uniform, properly groomed and ready to go. Team Members who
report to work improperly dressed or groomed will be instructed by their Managers to return home to change.
Your appearance and uniform must remain picture perfect throughout your entire shift. This means at any point
during your shift, we should be able to take a picture of you and place it into the Team Member Handbook - that's
how good you need to look 100% of the time.

Personal Hygiene
Your appearance on the job influences the first and, consequently, the lasting impression the Guest has of us. We
expect every team member to have a neat, clean and well-groomed appearance at all times. Proper attention to body,
teeth, hair and nails is also required. Additionally, the following applies to all team members:

      Bathe/shower and use deodorant daily
      Brush teeth and maintain fresh breath at all times
      Wash hands frequently
      Health Department Regulations require team members to wash hands after using the restroom
      CraftWorks requires team members to wash hands prior to exiting the restroom, regardless of the reason you're
      in there (e.g., refilling paper towels, cleaning a mirror, checking your hair, etc.)
      CraftWorks requires team members to wash hands after eating, smoking, blowing your nose, touching your
      hair pre-bussing/bussing a table, etc.
      Avoid touching hair or face while handling or serving food
      Wear appropriate undergarments under all attire (undergarments may not be visible)
      Wearing perfume or cologne is not permitted

Hair
Hair must be clean, neat and well-kept while on duty. Hair should be of a natural shade and styled in a professional
manner. Hair longer than shoulder-length must be tied back or restrained in such a way that it does not fall forward
when serving or preparing food/beverages. Team members must not arrange their hair in the presence of Guests.

Head Bands

      Are used for keeping hair off the face and shoulders
      Are a single solid dark colors
      Must be worn in a way that has the band extending from crown of the head to behind the ears

Facial Hair
Beards/mustaches/goatees/sideburns must be:

      Fully grown prior to hire date or grown during vacation/time off
      Trimmed and neat (or team members must be clean-shaven daily)
      Shorter than 1 inch (as dictated by Health Department standards)

Nails
Nails must be clean, well-manicured and less than ½ inch measured from fingertip. Single color nail polish is
permitted (women only - men may wear a clear protectant). Polish cannot be chipped. Nail charms are not permitted.
The same standards apply for acrylic nails (permitted in the FOH only). No neon colors. Color subject to
management approval.

Gloves
Gloves, which will be provided by the Company, may be required.
Make-Up           Case 1:18-cv-00879-RC Document 17-1 Filed 07/24/18 Page 17 of 26
Make-up must always reflect a professional appearance and should be used sparingly. Our team members should
promote a clean, fresh, natural look.

Jewelry
Jewelry must be conservative in nature and non-offensive. Any jewelry deemed a possible safety hazard must be
removed.

FOH Team Members (including managers):

      Two post-type or small hoop earrings (no larger than a quarter in diameter) per ear are permitted.
      Dangle/gauge/barbell earrings and earlobe expansion devices are not permitted.
      Two rings per hand are permitted
      One gold/silver necklace with charm (no larger than a dime in diameter) is permitted. Beaded, leather and
      other types of necklaces are not permitted.
      One bracelet per wrist is permitted
      One watch is permitted

BOH Team Members:
No jewelry on BOH team members with the exception of a single band ring (per food safety standards). The
following are not permitted:

      Earrings
      Necklaces
      Bracelets
      Watches

Body Piercings
No visible body piercings (including dermal) are permitted. Nose, eyebrow, lip and body jewelry must be removed
prior to service. It is unacceptable to cover them with a bandage. The TWO exceptions are:

      One tongue ring of clear/flesh color
      One small nose stud. Hoops are not allowed.

Tattoos
Small visible tattoos (less than 3 inches in diameter) are permitted. They cannot be racial, sexual or offensive in
nature. If tattoos are larger than 3 inches, they must be covered appropriately (either with a long sleeve shirt or
pants).

Gum Chewing
Gum chewing is not permitted during working hours.

Cell Phones
Personal cell phones, smart phones, MP3 and video players, cameras and other similar electronic devices may not be
used or carried while working. Please inform family and friends if they call your cell phone, text or email you while
working, you will be unable to respond until your next break period. Cell phone calls/texts/emails during break
periods are only permitted in designated break areas.

In the event of an emergency, family and friends should reach you by calling the restaurant line.

Accommodations
When possible, reasonable accommodation may be made to a person with a disability or to accommodate a team
member's religious beliefs.

                                    FOH Manager Business Casual Dress Policy
                                              Issued June 2016
CraftWorks Restaurants & Breweries requires all FOH Managers to promote a professional, neat, clean and
well-groomed appearance. To promote a professional
                Case 1:18-cv-00879-RC              image,
                                            Document      you must
                                                       17-1   Filedadhere to thePage
                                                                    07/24/18    CraftWorks
                                                                                     18 of 26Appearance
Standards & Business Casual Dress Policies.

Dress Shirts & Sweaters (Males)
ChopHouse and Blue Water Only: Long sleeve button down dress shirt with tie is required. Dress shirts must be
clean, pressed, and tucked in at all times. Solid undershirts may be worn.

All Other CraftWorks Brands: Long sleeve/short sleeve button up or button down dress shirt or sweater of any solid
color or pattern may be worn. Dress shirts must be clean, pressed, and tucked in at all times. Solid undershirts may
be worn.

      No t-shirts permitted
      No polos permitted
      No athletic materials permitted

Dress Shirts & Sweaters (Females)
Shirts and sweaters of any solid color or pattern may be worn. Dress shirts must be clean, pressed, and tucked in if
the shirt is designed to be tucked in pants. All styles fitting the following criteria may be worn:

      Minimum of 2 inch sleeve
      Covers top of pant/skirt
      No visible midriff or back permitted
      No sheer material permitted
      No plunging necklines permitted
      No visible undergarments permitted

Skirts/Dresses/Suits
Dress skirts and dresses of any solid color or pattern may be worn. Skirts must have a traditional fit to the waist, be
no higher than 6 inches above the knee, and should not extend below the knee for safety purposes. Skirts must be
clean, pressed, and worn with a solid belt, if the skirt has belt loops. Dresses/suits should be professional and
conservative in style.

      No jean, athletic, or corduroy material permitted

Dress Pants
Dress pants of any color or pattern may be worn. Pants must have a traditional fit to the waste, touch the top of the
shoe, be clean, pressed, and worn with a solid belt at all times.

      No jeans, athletic, or corduroy materials are permitted.

Belts
Belts of any solid color must be worn, if the dress pants or skirt have belt loops.

Socks/Stockings/Hose
Socks, stockings or hose must be worn at all times.

      No fishnet/fencenet

Dress Shoes
Shoes of any solid color may be worn. Shoes must be slip-resistant, polish-able, and in good repair.

      No open toe shoes
      No heels higher than 3 inches

     Digitally Signed By: Vasiliki Mitchell
     Date: Oct-20-2016 10:15:03 AM EDT                                                     10/20/2016

     Employee Signature                                                                    Date
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            EXHIBIT D
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           FOOD HANDLER ILLNESS REPORTING AGREEMENT
CraftWorks Restaurants and Breweries Group, Inc. (CraftWorks) is committed to ensuring the health, safety and
well-being of our Team Members and Guests while complying with all FDA Food Code regulations.

A Food Handler is defined as any Team Member that works in the restaurant where food is being served and
handled. The objective of this agreement is to ensure that all Food Handlers report to their General Manager (GM) or
Manager on Duty (MOD) any of the conditions listed so that appropriate steps are taken to prevent transmission of
foodborne illness or communicable diseases.

All reported health information will be maintained in accordance with legal requirements and as confidentially as
possible. Such information may be disclosed to persons in the restaurant with a need-to-know or when required by
law for reasons related to public health and safety in our restaurants.

A. I agree to report to the GM or MOD if I ever experience any of the following:

    1. Symptoms*

         1.   Diarrhea
         2.   Vomiting
         3.   Jaundice
         4.   Sore throat with fever
         5.   Infected wound or boil containing pus
              *Food Handlers with these symptoms may be restricted for certain duties, including food handling.


    2. Medical Diagnosis:(also referred to as the BIG SIX)

         1.   Salmonella Typhi
         2.   Shigella spp.
         3.   Nontyphoidal Salmonella (NTS)
         4.   Shiga toxin-producing Escherichia coli (STEC), also known as E. coli
         5.   Hepatitis A virus
         6.   Norovirus
              *Food Handlers diagnosed with one of the BIG SIX will be excluded from the restaurant until approval
              has been received from the Local Health Department.


    3. High Risk Conditions

         1. Exposure to or suspicion of causing any confirmed outbreak involving the BIG SIX.
         2. A member of their household is diagnosed with any of the BIG SIX.
         3. A member of their household is attending or working in a setting that is experiencing a confirmed
            outbreak of the BIG SIX.

B. I have read or had explained to me and understand my responsibility to comply with the following. I have
provided my initials beside each statement representing my agreement.

Y        I understand how Team Member health is related to foodborne illness.
Y      I understand the immediate need to report all symptoms, diagnoses or high risk conditions as defined in this
agreement.       Case 1:18-cv-00879-RC Document 17-1 Filed 07/24/18 Page 21 of 26
Y     I will comply with exclusions and/or restrictions as assigned by my GM or MOD.
Y     I understand that Medical Diagnoses of the Big 6 listed pathogens will be disclosed only to pertinent
Company representatives as required.

C. I understand that failure to comply with the terms of this agreement could lead to action by CraftWorks and/or the
food regulatory authority.


     Vasiliki Mitchell

     Food Handler Name
     Digitally Signed By: Vasiliki Mitchell
     Date: Oct-20-2016 10:27:39 AM EDT                      10/20/2016

     Food Handler Signature                                 Date
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            EXHIBIT E
                    Case 1:18-cv-00879-RC Document 17-1 Filed 07/24/18 Page 23 of 26




Voluntary Payroll Deduction

I want to start contributing to the H.O.P.E Program today to directly benefit my fellow teammates in need. My
selected contributions will be deducted from biweekly paychecks beginning the next pay period.

  Loose change (can also be combined with donation below)

         $1 per paycheck
         $5 per paycheck
          $10 per paycheck
          $20 per paycheck
                   Case 1:18-cv-00879-RC Document 17-1 Filed 07/24/18 Page 24 of 26
        Other amount: per paycheck $
        A one-time donation: check attached made payable to CraftWorks Foundation $


Teammate Name: Vasiliki Mitchell                   Teammate Phone: Vasiliki Mitchell
Teammate Full Address:                             Restaurant Location:
4283 58th Ave. 7, Bladensburg, MD, 20710           4507 / GB DC - F Street - DC
Digitally Signed By: Vasiliki Mitchell
Date: Oct-20-2016 10:32:00 AM EDT                  10/20/2016

Signature                                          Date

Questions? Call 303.664.4086
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             EXHIBIT F
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CraftWorks Restaurants & Breweries Group, Inc.

Emergency Contact Information
This information will be extremely important in the event of an accident or medical emergency. A second
point of contact is not required, however it is best to provide this information if possible.


Primary Emergency Contact

Full Name: Dwain                                           Primary Phone Number

 Travers                                                    240-708-2935

Relationship
 Significant Other



Secondary Emergency Contact (Optional)

Full Name: Lavette & Darryl                                Primary Phone Number
                                                            301-779-7872
 Phillips

Relationship
 Parents


    Digitally Signed By: Vasiliki Mitchell
    Date: Oct-20-2016 12:05:31 PM EDT                                         10/20/2016
    Employee Signature                                                        Date
